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7                            IN THE UNITED STATES BANKRUPTCY COURT FOR THE
                                 WESTERN DISTRICT COURT OF WASHINGTON
8
                                                                        In Chapter 7 Proceeding
9    In re:                                                             NO. 13-47611-BDL
10   Christopher Wayne Stevenson and Kathleen
     Stevenson                                                          Order Reopening Case &
11                                   Debtors.                           Avoiding Judgment Lien

12
              IT IS ORDERED AS FOLLOWS that the above referenced case is reopened and the judgment liens of
13
     the following creditors are declared null and void with respect to the property commonly known as 2306
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     356th St E., Roy, Washington 98580 as follows:
15

16            (A)   FIA Card Services, N.A. vs. Kathleen Stevenson in the approximate amount of $14,877.61, together with

17                  interest, costs and attorney fees, if any, entered September 7, 2011 with Judgment No. 11-9-10020-1 and Cause

18                  No. 11-2-11345 in Pierce County Superior Court, State of Washington; and

19            (B) Capital One Bank (USA) N.A., vs. Kathleen Stevenson in the approximate amount of $2,854.92, together with
20                  interest, costs and attorney fees, if any, entered December 23, 2011 with Judgment No. 11-9-14567-1 and Cause
21
                    No. 11-2-16338-1 in Pierce County Superior Court, State of Washington.
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23
                                                         /// end of order///
24

25   Presented by:
     /s/ Ellen Ann Brown
26   Ellen Ann Brown WSBA 27992
     Attorney for Debtor(s)

                                                                                                       BROWN AND SEELYE
                                                                                                  1700 Cooper Point Rd SW #C5
                                                                                                           Olympia, WA 98502
                                                                                                                 888-873-1958
